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                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, )
             Prosecution, )
                          )
v.                        )                   DOCKET NO. 1:16-CR-0212-003
                          )
                          )                   HON. CHRISTOPHER CONNER
TOREY WHITE,              )
KEVIN COLES,              )                   ELECTRONICALLY FILED
             Accused.     )


              BRIEF IN SUPPORT OF MOTION TO ADMIT
          PRE-TRIAL STATEMENTS OF KENYATTA CORBETT
            AND, IF NECESSARY, TO SEVER DEFENDANTS

      COMES NOW the Accused, Torey White, by counsel, pursuant to Federal

Rules of Evidence (“FRE”) 804(b)(3) and 807, Brady v. Maryland, 373 U.S. 83

(1963), Chambers v. Mississippi, 410 U.S. 284 (1973), Federal Rule of Criminal

Procedure 14, the Fifth and Sixth Amendments to the United States Constitution,

and other authorities cited herein, and submit the following brief in support of his

Motion to Admit Pre-Trial Statements of Co-defendant Kenyatta Corbett and, if

Necessary, to Sever Defendants.

      Codefendant Kevin Coles joins in this Motion.

      In this case, the Government has stated its intention to call Co-defendant

Michael Buck at trial. Based upon review of discovery materials, Buck is the only

witness who will assert direct knowledge that Torey White participated in the
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planning of the robbery/homicides in Mercersburg on June 25, 2016. Buck’s

accusations against Mr. White are implausible on their face. During his proffer,

Buck claimed that Torey White attended a meeting at his house on the evening of

June 25, 2016, during which a group that included Buck and Co-defendants

Christopher Johnson, Jerrell Adgebesan, Johnnie Jenkins Armstrong, Kenyatta

Corbett, and possibly others from Baltimore planned the offense. Of all of the

defendant/witnesses who have admitted attending this meeting, only Buck has

stated that Torey White—or anyone who could have been Torey White—was

present. During his proffer, Buck further claimed that the purpose of the group

going to the Jackson’s residence was to carry out a hit of a woman who was

suspected of cooperating with law enforcement, Wendy Chaney, and that Torey

White’s role was to make sure that Ms. Chaney was at Jackson’s residence when

the others arrived.

      In addition to being unsupported by the statements of any other co-

conspirator, Buck’s accusation is contradicted by other evidence. Torey White has

given notice of an alibi during the time of the meeting and will present proof

thereof at trial. Moreover, the many hundreds of gigabytes of phone data that the

Government has provided in discovery in this case do not reveal a single

communication between Torey White and any of his alleged co-conspirators, ever.

It is extraordinarily unlikely that Torey White attended a meeting at Michael



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Buck’s house on June 25, 2016, to plan a robbery/homicide with a group of men

that he had never once in his life communicated with. But that will be Buck’s

testimony.

      Buck’s accusation is also suspect due to its lack of timeliness. Despite

receiving information on the first day of this investigation that Buck had made a

suspicious trip to the scene of the crime with a black male on the morning of the

murders, investigators never interviewed Buck for more than seven weeks after the

offense. When investigators finally did interview Buck on August 15, 2016, he

lied to them. Buck claimed that he had gone to Phillip Jackson’s house that

morning with a white male, when in fact investigators had been told by

eyewitnesses that he had been accompanied by a black male. In his August 16,

2016 interview, Buck maintained that he knew nothing about these homicides and,

when asked directly, stated that he did not know Torey White.

      It was more than three years later, during proffer sessions in January of

2020, that Buck first accused Torey White of having any involvement in the

planning of these crimes. The notes from Buck’s proffer reveal a strong emotional

reaction when he first began to inculpate Torey White:




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USASupp-12524. Later in the interview, Buck became emotional again when

talking about Torey White:




USASupp-12525. So twice when discussing Torey White’s alleged involvement in

the planning of these crimes Buck was overcome with emotion. The first time

Torey White’s name came up he was “visibly shaken up” and needed to pause the

proffer to meet with his counsel. The second time Torey White’s name came up he

“broke down.” The Government will undoubtedly claim that Buck became

emotional because he was particularly frightened of Torey White (as opposed to

the actual group of gang members and admitted killers who assembled in his

kitchen). And that may be one interpretation of his emotional reaction to

inculpating Torey White. Another interpretation—and one consistent with the

evidence that will show that that Torey White could not have attended the meeting

in Buck’s house—is that Buck became emotional when discussing Torey White

(and only when discussing Torey White) because he was lying about Torey White.

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      This brings us to Kenyatta Corbett. Corbett was one of the last of the

alleged co-conspirators to be identified and charged in this case, likely because his

nickname “K” was also the nickname of Kevin Coles, so that whenever witnesses

discussed “K,” the investigators assumed they were talking about Coles when in

fact they were describing Corbett. See USASupp-014801 (Grand Jury testimony

of Keith Kierzkowski) (“We had already identified one of the individuals in this

case as another K by the name of Kevin Coles. . . So we were already

concentrating on this particular K, but in this case there happened to be two Ks.”).

      Corbett was arrested on July 20, 2018, Mirandized, and interviewed that

same day. Corbett gave a lengthy statement in which he provided a detailed

account of this offense that differs radically from Buck’s proffer. In the initial

portions of his interview, Corbett discussed riding to the Jackson property in the

morning on June 25, 2016, with a white junkie to whom he had been selling

heroin. Although Corbett did not use the name “Michael Buck,” the person he

described matched the description of Buck and lived on Elizabeth Street in

Hagerstown. After initially denying being having been present when the

homicides were committed, Corbett asked to use the bathroom. When he returned,

Corbett continued to speak with investigators and gave the following information:

Corbett stated that he and a woman named Angela Barney drove to the Jackson

residence in a caravan with a group of people who had met at Buck’s house. When



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asked why he went with the others, Corbett answered “because I was the only one

available who knew that route.”1 Corbett stated that he and Angela Barney sat in

the car and waited on the road while the others went onto Jackson’s property.

Corbett stated that he and Barney sat there until he heard gunshots, at which time

Corbett told Barney that it was time to leave.

      Corbett stated that the first time he and Buck went to the Jackson property

that morning, Buck had told him that there was going to be money and drugs at

Jackson’s residence. Corbett emphatically and repeatedly stated that the purpose

of going to Jackson’s residence that evening was to conduct a robbery, not to carry

out any “hit.” He stated that he was unaware that any person at the residence that

night was suspected of being a government informant. Corbett stated that although

he did not realize it at the time, he now believes that the reason Buck took him to

the Jackson property that morning was to do surveillance for the robbery.

      Corbett stated that later that after his trip to the Jackson residence on the

morning of June 25, 2016, he traveled to Baltimore, where he met up with “Rell.”

Corbett stated that he informed Rell that Buck had told him that there were

valuables at the Jackson residence that could be stolen. Corbett said that Rell


1
  Torey White, who was at the Jackson residence many times per day and rented a
house from Phillip and Amber Jackson, certainly knew the route to Jackson’s
residence better than anyone in the caravan. If Mr. White was involved in the
conspiracy to commit this offense, he would have been the obvious choice to
escort the perpetrators to the area of Jackson’s house.

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responded that he knew people who could get the job done, and that Rell talked to

those people. Corbett stated that the group traveled from Baltimore to Hagerstown

where they met up at Buck’s house. Corbett estimated that they were at Buck’s

residence for 15–25 minutes. Corbett stated that Buck told the group from

Baltimore that Jackson had a lot of money and a “pile of drugs” and that Jackson

kept it in the barn and in the house.

      Corbett stated that after the meeting, he met up with Angela Barney at the

nearby residence of Lakeisha Gibson. After Barney picked Corbett up, he and the

group from Baltimore drove the Jackson property in three vehicles. Once there, he

and Barney waited in the car on the road while the others went onto the property to

conduct the robbery. When Corbett heard the gunshots he told Barney “I don’t

know what the fuck they doing up there, it’s time to go,” and they left and drove to

West Virginia. Corbett stated that he didn’t know if it was the victims or the

robbers who had been shot.

      When the investigators told Corbett that they did not believe it would make

sense for the group to travel all the way to Mercersburg from Baltimore for a

robbery, but that coming there to kill a snitch made more sense, Corbett answered

“That definitely wasn’t the case, at all.” Corbett repeatedly insisted that the reason

for going to the Jackson residence was to commit a robbery, not a hit. Corbett

continued: “Those killings, like, that wasn’t planned.” He added, “if that had been



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the case I would have never left when I heard the gunfire shots. . . . I would never

have left them there once I heard the gunshots. . . If the plan was for them to go in

and assassinate everybody, or assassinate people, like I would have never been

disturbed by the gunshots.”

      Corbett confirmed this account in at least two subsequent statements. First,

on November 25, 2019, the DEA requested and conducted a polygraph

examination of Corbett. During the pre-polygraph interview, Corbett told exactly

the same story that he had told on July 20, 2018. He described traveling to the

farm with Michael Buck on the morning of June 25, 2016, and discussing a

robbery. He described meeting with Rell in Baltimore later that day, and Rell in

turn recruiting a group of three black males in Baltimore. He described traveling

from Baltimore to Hagerstown in a blue Saturn with Rell while the three black

males followed in a van. With respect to the meeting at Buck’s house, Corbett

specifically stated that “he, the three black males, and Adgebesan entered Buck’s

residence. Corbett stated that the three black males, Adgebesan, and Buck talked

in the kitchen.” USASupp-015192. Corbett did not mention any other person

attending that meeting. Corbett then described meeting up with Angela Barney

and riding to the Jackson residence in her car, accompanied by the blue Saturn and

van. Corbett stated that he and Barney waited in the car while Rell and the three

black males entered the property. “Corbett stated that after 10 to 15 minutes, he



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heard multiple gun shots and that he and Barney immediately left the area and

went to West Virginia.” USASupp-015193.

      Corbett was asked three relevant questions during the polygraph

examination. He was asked:

       Did you plan with anyone to shoot them? Answer – No.

       Were you involved in the planning of shooting them? Answer –
       No.

       Did you know that anyone was going to shoot them? Answer – No.

Id. The report indicated that “[t]he examinee was No Deception Indicated (NDI)

on the planning questions. The examinee was inconclusive on the knowledge

question. The overall result is Inconclusive.” Id.2

      Third, Corbett proffered with the Government on March 2, 2020. The

Government has not produced any report of this proffer, but on December 14,

2021—five days after the Court’s Jencks and Giglio deadline, almost a year after

the Court ordered the “immediate” production of any Brady evidence, and

following four prior requests for Corbett’s proffers by Mr. White—the

Government finally produced fourteen pages of handwritten notes taken during

Corbett’s March 2, 2020 proffer. It is unclear who took these notes. Only one set


2
 Mr. White does not suggest that the results of Corbett’s polygraph examination
would be admissible at trial. The fact that Corbett gave a second detailed account
of this offense that was consistent with his July 20, 2018 statement is admissible.


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of notes appears to have been provided although the defense believes that at least

two investigators attended the proffer.3 While the notes are not easy to decipher,

counsel’s review suggests that Corbett gave substantially the same account that he

had given in his first two statements.

      It should be noted that The Government has provided two proffer

agreements signed by Corbett and the United States. The first proffer agreement

was dated December 17, 2019, weeks after Corbett’s polygraph, and was signed by

Corbett and his counsel on December 19, 2019. USASupp-13512. The second

was dated February 5, 2020, and signed by Corbett and his counsel on February 24,

2020. USASupp-13508. Despite Mr. White’s repeated requests for Corbett’s

proffers under Brady v. Maryland, 383 U.S. 72 (1963), no notes or reports have

ever been provided for any December 2019 proffer.

      On December 21, 2021, counsel for Torey White served a trial subpoena

upon Corbett through his attorney, Edward Ungvarsky. On December 22, 2021,

counsel for Corbett filed a Notice of Intention to Assert Fifth Amendment

Privilege if Called to Testify at Trial in this Matter. Doc. 1079. If the Court

determines that Corbett has a valid Fifth Amendment privilege to decline to testify


3
 Counsel for Mr. White believe that the notes were taken by DEA Agent
Keirzkowski. The notes indicated that the proffer was attended by “Defense x2,
Behe, Decker.” USASupp-016681. If counsel’s interpretation of the notes is
correct, PSP Trooper Paul Decker would also have taken notes during the proffer,
and they have not been produced.

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in this matter, then Corbett will be an unavailable witness within the meaning of

the Federal Rules of Evidence. F.R.E. 804(a) (“A declarant is considered to be

unavailable as a witness if the declarant is exempted from testifying about the

subject matter of the declarant’s statement because the court rules that a privilege

applies”). Thus, Corbett’s prior statements are admissible to the extent that they

meet one of the hearsay exceptions set forth in Federal Rules of Evidence 804 and

807.4

        F.R.E. 804(b)(3) recognizes the “statement against interest” exception to the

general rule excluding hearsay. The exception allows the introduction of an

unavailable witness’s hearsay statement that “a reasonable person in the

declarant’s position would have made only if the person believed it to be true

because, when made, it . . . had so great a tendency . . . to expose the declarant to

civil or criminal liability.” F.R.E. 804(b)(3)(A). Corbett’s statements to law

enforcement are admissible under this exception. Several courts, including circuit

courts and a sister federal district court in Pennsylvania have noted that “trial

judges should apply a liberal standard in determining whether a statement tended

to subject a declarant to criminal liability.” United States v. Ditizio, 530 F. Supp.


4
  They may also be admissible even if they do not qualify as hearsay exceptions.
See Chambers v. Mississippi, 410 U.S. 284, 302 (1973) (holding that the
constitution’s fair trial requirement is violated where the trial court excludes
trustworthy evidence that was critical to the defendant’s defense through a
“mechanistic” application of the hearsay rule) (discussed further infra).

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175, 178 (E.D.P.A. 1982); United States v. Satterfield, 572 F.2d 687, 691 (9th Cir.

1978); United States v. Thomas, 571 F.2d 285, 288 (5th Cir. 1978).

      The Ditzio decision is particularly instructive. In Ditizio, the defendant was

scheduled to be tried along with his alleged co-conspirator, Fardella. Ditizio

sought severance from Fardella, arguing that “Fardella made statements in an off-

the-record interview with Government agents which if introduced at trial would

tend to exculpate [Ditizio]” and “since these statements could not be introduced at

a joint trial, severance is necessary to allow Ditizio to present a fair and complete

defense.” Ditizio, 530 F. Supp. at 176. The court noted that “[t]he gist of

Fardella’s allegedly exculpatory statement was that he and Charles Allen, an

unindicted co-conspirator, were the only members of the conspiracy.” Id. at 177.

The statement was made during a proffer with the United States Attorneys

prosecuting the case. Id. Ultimately that court determined that Ditizio was likely

entitled to introduce Fardella’s proffer statements in his defense, and that

severance was necessary in order to enable him to do so. Id. at 178 (finding

likelihood that the statement qualified for the 804(b)(3) hearsay exception); id. at

179 (granting severance).

      In this case, Corbett admitted to law enforcement that he joined a conspiracy

to commit an armed robbery that resulted in a triple homicide. There can really be

no doubt that these statements “tended to subject” Corbett to criminal liability.



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Corbett’s out-of-court statements in this case are remarkably similar to Fardella’s

out-of-court statement that was held to be admissible in Ditzio. Like Fardella,

Corbett has included himself in a criminal conspiracy and has identified the other

members of that conspiracy not to include Torey White.5

      FRE 804(b)(3)(B) further requires that in addition to tending to subject the

declarant to liability, the statement must be “supported by corroborating

circumstances that clearly indicate its trustworthiness, if it is offered in a criminal

case as one that tends to expose the declarant to criminal liability.”6 The Ditizio

court found that this requirement was satisfied by the terms of Fardella’s proffer

agreement, which were “plainly designed to guarantee the veracity of Fardella’s

utterances.” Id. at 178. Specifically, the court noted that Fardella’s proffer


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  The Ditizio court specifically rejected the government’s argument that statements
made pursuant to a proffer agreement did not tend to subject the declarant to
criminal liability because the agreement precluded the government from using the
statements against him in its case-in-chief. Ditizio, 520 F. Supp. at 177–78. The
court noted that Fardella’s proffer statements still tended to subject him to criminal
liability because the proffer agreement permitted the government to make
derivative use of his statements. Id. at 178. The same is true of Corbett’s proffer
agreements in this case; both contained derivative use provisions. USASupp-
013506 (Feb. 5, 2020, proffer agreement); USASupp-013510 (Dec. 17, 2019,
proffer agreement).
6
  It is not clear that this provision applies to Mr. White. Mr. White is not offering
the statement to prove Mr. Corbett’s guilt or the guilt of a codefendant, he is
offering it to exculpate himself. Nevertheless, assuming that Mr. White has the
burden of showing corroborating circumstances that clearly indicate the
trustworthiness of Corbett’s statements, he easily satisfies this burden for the
reasons stated herein.

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agreement permitted the government to use Fardella’s statements to cross-examine

him if he gave testimony that conflicted with his proffer, a provision “necessary to

ensure that (he) does not abuse the opportunity for an ‘off-the-record’ proffer or

discussion, does not make materially false statements to a government agency, and

does not commit perjury when testifying at trial.” Id. The court also noted that

Fardella’s proffer agreement also included Fardella’s agreement to take a

government conducted polygraph. Id. Corbett’s proffer agreements contain

identical provisions, and are similarly “designed to guarantee the veracity” of

Corbett’s statements. USASupp-013506 (Feb. 5, 2020, proffer agreement);

USASupp-013510 (Dec. 17, 2019, proffer agreement). For this reason, Corbett’s

out-of-court statements also satisfy FRE 804(b)(3)(B)’s trustworthiness

requirement.

      The Third Circuit has identified additional factors that the Court should

consider in assessing the trustworthiness of the out-of-court statement. United

States v. Caldwell, 760 F.3d 267, 289 (3rd Cir. 2014). Each of these factors

support the admissibility of Corbett’s statements in Mr. White’s defense. In

Caldwell, the Third Circuit noted that the requirement of corroborating

circumstances “reflects the concern that a third party with less risk of prosecution

will fabricate a confession to exculpate the guilty party.” Id. (citing United States

v. Guillette, 547 F.2d 743, 754 (2nd Cir. 1976)). The Third Circuit further noted



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that the “rule does not require that the information within the statement be clearly

corroborated; it requires only that there be corroborating circumstances that clearly

indicate the trustworthiness of the statement itself.” Id. (emphases in original).

The Caldwell Court identified three such circumstances. First, the Court

considered the lack of relationship between the declarant and accused. Id. (citing

United States v. Silverstein, 732 F.2d 1338, 1346 (7th Cir. 1984)). In this case,

there is no evidence that Torey White and Kenyatta Corbett had ever met or

communicated; there is clearly no reason that Corbett would have fabricated a

statement to assist a complete stranger. Second, the Caldwell Court considered

whether the declarant’s statement was voluntarily made after the declarant was

advised of his Miranda rights. Id. (citing United States v. Price, 134 F.3d 340,

347–48 (6th Cir. 1998)). This is true of all of Corbett’s statements in the present

case. Third, the Caldwell Court considered whether the statement was made to

curry favor with law enforcement. Id. (United States v. Garcia, 897 F.2d 1413,

1421 (7th Cir. 1990)). In this case, Corbett was never given any assurances that

his statement would result in a favorable outcome. In fact, during his post-arrest

interview, Corbett stated “it looks like I’m going to be in jail for the rest of my

fuckin’ life for real, that’s what it looks like.” Moreover, Corbett’s statements

have not curried favor with law enforcement. He is not a cooperator in this case




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specifically because he repeatedly refused to endorse the prosecution’s theory that

this was a “hit” on Wendy Chaney.

      In addition to the three Caldwell factors, Mr. White suggests that the Court

should consider the consistency of Corbett’s statements as an additional factor

proving the trustworthiness of his statements. At least three times, Corbett has

offered lengthy and detailed accounts of this offense that differed very little, if at

all. The same cannot be said of any of the Government’s cooperators in this case,

all of whom have changed their stories dramatically from their initial interviews.

      Finally, although it is not necessary that Corbett’s statements themselves be

corroborated, it is worth noting that they will be partially corroborated by another

witness, Angela Barney, who has informed investigators that she and Corbett rode

to the Jackson residence together and waited outside in her car. Barney did not

hear the gunshots herself, but confirms that the purpose of going to the property

was to conduct a robbery, and that she and Corbett left together. Corbett’s

statements will also be corroborated by other evidence in this case, including

phone records and an alibi witness that show that Torey White could not have

attended the meeting that Buck claims, consistent with Corbett’s statements.

      In sum, Corbett is an unavailable witness, his statements tended to expose

him to criminal liability, and his statements are corroborated by a wealth of

evidence that indicate their trustworthiness. Based upon these factors, Torey



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White asks the Court to rule that Corbett’s pre-trial statements are admissible in his

defense.

      At least two additional bases exist for the admission of Corbett’s statements.

First, FRE 807 creates a “residual hearsay exception.” Under this rule, an out-of-

court statement may be offered to prove the truth of the matter asserted if the

statement is (1) supported by sufficient guarantees of trustworthiness, and (2) more

probative on the point for which it is offered than any other evidence that the

proponent can obtain through reasonable efforts. F.R.E. 807. Pursuant to FRE

807(b), Mr. White and Mr. Coles hereby give written notice of their intention to

offer Corbett’s statements under this Rule. The same factors that show the

trustworthiness of Corbett’s statements under FRE 804(b)(3) also show its

trustworthiness under FRE 807. See supra at 13–16.7 And clearly, Corbett’s

detailed account of this offense is more probative that any other evidence that Mr.

White can obtain of the fact that the purpose of going to the Jackson residence on

June 25, 2016, was to conduct a robbery, not to assassinate anyone. In this case,

Corbett (through “Rell”) is the only link between Hagerstown and the perpetrators

from Baltimore who actually entered Jackson’s property and killed the victims. If



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  The Ditizio court was persuaded that, in addition to the “statement against
interest” exception, the declarant’s statements were admissible under the residual
hearsay exception, which was then codified at FRE 804(b)(5). Ditizio, 530 F.
Supp. at 179.

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Corbett was unaware of any plan to murder a witness (which he emphatically

insisted, continued to insist, and was found not deceptive on his polygraph in

asserting), then there is no possibility that the group traveled from Baltimore to

Hagerstown for the purpose of murdering Wendy Chaney. This leaves Torey

White with no role in this conspiracy whatsoever. And Corbett’s account of the

meeting at Buck’s house, which included only Buck, Corbett, Rell, and the group

that traveled from Baltimore in the van, obliterates the Government’s claims that

Torey White attended that meeting.

      Lastly, the United States Supreme Court has ruled that, “where

constitutional rights directly affecting the ascertainment of guilt are implicated, the

hearsay rule may not be applied mechanistically to defeat the ends of justice.”

Chambers v. Mississippi, 410 U.S. 384, 302 (1973). The Chambers Court reversed

a conviction where the defendant was prevented from calling witnesses to testify

that another man had confessed to the shooting for which the defendant was on

trial. The Court concluded that “the exclusion of this critical evidence, coupled

with the State’s refusal to permit Chambers to cross-examine McDonald, denied

him a trial in accord with traditional and fundamental standards of due process.”

Id. Because the evidence offered by Torey White bears persuasive assurances of

trustworthiness, is within “the basic rationale of the exception for declarations

against interest,” and is critical to Mr. White’s defense, a trial in which he is not



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permitted to introduce this evidence will be fundamentally unfair under Chambers.

Id.

                                   Motion to Sever

      Mr. White anticipates that at least one remaining codefendant, Jerrell

Adgebesan, is likely to oppose the admission of Corbett’s pre-trial statements. To

the extent that Mr. Adgebesan is inculpated by Corbett’s statements, Mr. White

anticipates that Mr. Adgebesan would argue that his right to confront the evidence

against him would be violated by admitting Corbett’s out-of-court statements.

      In 1993, the Supreme Court declined to adopt a bright-line rule requiring

severance whenever codefendants presented “mutually antagonistic defenses.”

Zafiro v. United States, 506 U.S. 534, 538 (1993). In doing so, however, the Court

noted that severance is required “only if there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.” Id. at 539. The

Court continued: “Such a risk might occur when evidence that the jury should not

consider against a defendant and that would not be admissible if a defendant were

tried alone is admitted against a codefendant.” Id. The Court also noted that “a

defendant might suffer prejudice if essential exculpatory evidence that would be

available to a defendant tried alone were unavailable in a joint trial.” Id. These

examples illustrate precisely the dilemma here. There is no doubt that the



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Government could not introduce Corbett’s out-of-court statements against Mr.

Adgebesan at trial. Proffers and Mirandized post-arrest interrogations are

obviously testimonial, and Mr. Adgebesan’s right to confront the evidence against

him would be violated if the Government attempted to prove his guilt through the

use of these statements. Crawford v. Washington, 541 U.S. 36 (2004). Here, Mr.

White’s and Mr. Coles’s constitutional right to present a complete defense is

squarely at odds with Mr. Adgebesan’s constitutional right to confront the

evidence against him; these rights cannot be reconciled.

      Under these circumstances, the remedy is severance of defendants. See

Ditizio, 530 F. Supp. at 179 (granting severance) (holding that “the risk of unduly

constricting Ditizio’s defense by preventing him from introducing important

exculpatory testimony in a joint trial is sufficiently clear that, in my judgment,

considerations of judicial economy are outweighed”); Tifford v. Wainwright, 588

F.2d 954, 957 (5th Cir. 1979).

                                   CONCLUSION

      WHEREFORE, Torey White respectfully moves this Honorable Court to

allow the admission of Kenyatta Corbett’s pre-trial statements in Mr. White’s and

Mr. Coles’s defense at trial and, if a remaining codefendant objects to this ruling,

to sever the defendants for separate trials.




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                             Respectfully submitted,

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                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, )
             Prosecution, )
                          )
v.                        )                   DOCKET NO. 1:16-CR-0212-003
                          )
                          )                   HON. CHRISTOPHER CONNER
TOREY WHITE,              )
KEVIN COLES,              )                   ELECTRONICALLY FILED
             Accused.     )

                         CERTIFICATE OF SERVICE

      AND NOW comes Matthew L. Engle, Esquire, counsel for Torey White,

and certifies that a true and correct copy of the foregoing Brief has been served

upon AUSA Willam A. Behe, Federal Building, 228 Walnut Street, P.O. Box

11754, Harrisburg, Pennsylvania 17108 via E.C.F., or, if necessary, by first class

mail, postage prepaid, this 27th day of December, 2021.


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